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                                                                HONORABLE STACIE BECKERMAN




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION


   CONSTANCE GEORGE                                       NO. 3:15-CV-01277-SB
                                        Plaintiff,
   v.                                                     COUNSEL      FOR      THE
                                                          PLAINTIFF’S   UNOPPOSED
   HOUSE OF HOPE RECOVERY, et al.                         MOTION TO WITHDRAW AS
                      Defendants.                         COUNSEL FOR PLAINTIFF



                           I.      CERTIFICATE PURSUANT TO LR 7.1

        This Motion is made by Plaintiff’s counsel, Moloy K. Good, (hereinafter “Plaintiff’s

counsel”). Plaintiff’s counsel has conferred with counsel for each separate Defendant regarding

this motion, and none of the counsel for Defendants oppose this Motion. Plaintiff’s counsel has

provided Plaintiff Constance George with a copy of this Motion.

              II.     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

        Pursuant to LR 83-11, Plaintiff’s counsel respectfully moves this Court for an order

allowing him to withdraw as counsel for the Plaintiff immediately.

        Plaintiff’s counsel seeks to withdraw for professional considerations. Trial in this case is

set for March 13, 2018 which will allow Plaintiff Constance George adequate time to obtain new
NO. 3:17-CV-01557-BR; George v. House of Hope Recovery, et al.;                 The Good Law Clinic, PLLC
Counsel for Plaintiff’s Motion to Withdraw as Counsel for Plaintiff –       WSBA#36036 / OSB#012636
                                                                               211 E. 11th Street, Suite 105
Page 1 of 4                                                                         Vancouver, WA 98660
                                                                                   Phone: (360) 694-4530
                                                                                Facsimile: (360) 694-4659
                                                                        E-mail: moloy@goodlawclinic.com
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counsel prior to the trial. Moreover, Plaintiff’s counsel will provide Plaintiff Constance

George’s new counsel with a copy of his attorney file as soon as he receives a notice of

representation, and consent from Plaintiff.

       If ordered, Plaintiff’s counsel is willing to submit additional information under seal or in

chamber, outside the presence of Defendants or Defendants’ counsel.

       No party will suffer any prejudice if the withdrawal is granted. Plaintiff’s counsel is

concerned that Plaintiff will suffer prejudice if the withdrawal is denied.



DATED this 27TH day of December, 2017.



                                        THE GOOD LAW CLINIC
                                        /s/ Moloy K. Good
                                        MOLOY K. GOOD OSB #012636
                                        (360) 694-4530
                                        Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of December, 2017, I served the foregoing Counsel

for Plaintiff’s Motion to Withdraw as Counsel for Plaintiff, and the Declaration of Moloy Good

in Support of Counsel for Plaintiff’s Motion to Withdraw as Counsel for Plaintiff on the

following parties at the following addresses:

Rebecca Cambreleng
CAMBRELENG LAW, LLC                                                            ECF
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       Of Attorneys for Defendants House of Hope                               Facsimile
       Recovery and Patricia Barcroft                                          U.S. Mail
                                                                               Overnight Courier
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Kyle T. Abraham
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Portland, OR 97204
       Of Attorneys for Defendant Bridges to Change                            Facsimile
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                                                                               Email




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                                                s/ Moloy K. Good
                                                Moloy K. Good, OSB #012636
                                                of Attorney for Plaintiff




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